
In re: Henry Peter Harris, applying for supervisory writs of review, prohibition, mandamus and a stay order. Parish of East Baton Rouge.
Granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
*915It is ordered that a writ of certiorari issue herein, directing the Honorable Douglas M. Gonzales, Judge of the Nineteenth Judicial District Court for the Parish of East Baton Rouge, to transmit to the Supreme Court of Louisiana, on or before the 3rd day of November, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be fixed by this court, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
